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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

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  Attorneys for Plaintiffs, Individually
  and on behalf of all others similarly
  situated

   Jesy Cruz, Luis Rodriguez,
   and Mercedes Trinidad, on
   behalf of themselves and all
   other persons similarly                   DOCKET NO. 16-CV-9321
   situated,
                                                   COMPLAINT
                     Plaintiffs,

                - vs. –

   JMC Holdings, Ltd. d/b/a
   Domino’s Pizza, John Cilmi,
   and John Does #1-10,

                     Defendants.

        Plaintiffs    Jesy   Cruz,   Luis   Rodriguez,   and   Mercedes

  Trinidad, by and through their undersigned attorneys, for

  their complaint against defendants JMC Holdings, Ltd. d/b/a

  Domino’s Pizza, John Cilmi, and John Does #1-10, allege as

  follows, on behalf of themselves individually and on behalf

  of all other persons similarly situated:
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                               NATURE OF THE ACTION

        1.        Plaintiffs         Jesy     Cruz,       Luis        Rodriguez,     and

  Mercedes Trinidad allege on behalf of themselves and on

  behalf     of    other    similarly         situated        current      and   former

  employees of defendants JMC Holdings, Ltd. d/b/a Domino’s

  Pizza, John Cilmi, and John Does #1-10, who elect to opt

  into this action pursuant to the Fair Labor Standards Act

  (“FLSA”), 29 U.S.C. § 216(b), that they are entitled to:

  (i) compensation for wages paid at less than the statutory

  minimum     wage;      (ii)        unpaid       wages     from      defendants     for

  overtime        work   for    which       they      did    not      receive    proper

  overtime        premium      pay    as      required      by     law;    and     (iii)

  liquidated damages pursuant to the FLSA, 29 U.S.C. §§ 201

  et seq., because defendants’ violations lacked a good faith

  basis.

        2.        Plaintiffs         further        complain          on   behalf    of

  themselves and on behalf of a class of other similarly

  situated    current       and      former       employees      of    defendants    JMC

  Holdings, Ltd. d/b/a Domino’s Pizza, John Cilmi, and John

  Does #1-10, pursuant to Fed. R. Civ. P. 23, that they are

  entitled to (i) compensation for wages paid at less than

  the statutory minimum wage pursuant to the New Jersey Wage

  & Hour Law, and (ii) back wages for overtime work for which




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  defendants willfully failed to pay proper overtime premium

  pay as required by the New Jersey Wage and Hour Law.

                                 THE PARTIES

        3.    Plaintiff Ms. Jesy Cruz is an adult individual

  residing at 66 Webster Ave., Paterson, New Jersey.

        4.    Plaintiff     Mr.        Luis    Rodriguez     is    an    adult

  individual residing at 20 Elk Street, Paterson, New Jersey.

        5.    Plaintiff    Ms.        Trinidad    Trinidad    is   an    adult

  individual    residing    at    28    Redwood    Avenue,   Paterson,     New

  Jersey.

        6.    Plaintiffs consent in writing to be parties to

  this action pursuant to 29 U.S.C. § 216(b); their written

  consents are attached hereto and incorporated by reference.

        7.    Upon    information        and      belief,    defendant     JMC

  Holdings, Ltd., d/b/a Domino’s Pizza (“JMC”) is a New York

  corporation authorized to do business in New Jersey with a

  principal place of business at 8 Depot Square, Suite 4,

  Tuckahoe, New York.

        8.    At all relevant times, defendant JMC has been,

  and   continues    to   be,    an    employer    engaged   in    interstate

  commerce and/or the production of goods for commerce within

  the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).




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         9.    Upon   information    and    belief,    at    all       relevant

  times, defendant JMC has had gross revenues in excess of

  $500,000.00.

         10.   Upon   information    and    belief,    at    all       relevant

  times, defendant JMC has used goods and materials produced

  in   interstate     commerce,    and     has   employed    two       or    more

  individuals who handled such goods and materials.

         11.   Upon information and belief, defendant John Cilmi

  is the owner and principal of JMC, and has the power to

  hire   and   fire   employees,     set    wages   and     schedules,        and

  retain their records.

         12.   Defendant John Cilmi was involved in the day-to-

  day operations of JMC and played an active role in managing

  the business.

         13.   John Does #1-10 are defendants to be identified

  later through discovery as individuals or entities that,

  together     with    the   other       defendants,      form     a        single

  enterprise and/or constitute joint employers under the FLSA

  and/or New Jersey Wage and Hour law.

         14.   Defendants constituted “employers” of plaintiffs

  as that term is used in the Fair Labor Standards Act and

  New Jersey Wage and Hour Law.




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                               JURISDICTION AND VENUE

        15.   This Court has subject matter jurisdiction over

  this matter pursuant to 28 U.S.C. §§ 1331 and 1337 and

  supplemental jurisdiction over plaintiffs’ state law claims

  pursuant to 28 U.S.C. § 1367.                  In addition, the Court has

  jurisdiction          over     plaintiffs’       claims    under    the      FLSA

  pursuant to 29 U.S.C. § 216(b).

        16.   Venue is proper in this district pursuant to 28

  U.S.C. § 1391 because defendants’ business is located in

  this district.

                CLASS AND COLLECTIVE ACTION ALLEGATIONS

        17.   Pursuant to 29 U.S.C. §§ 206 and 207, plaintiffs

  seek to prosecute their FLSA claims as a collective action

  on   behalf      of    themselves        and   a   collective      defined    as

  follows:

        All   persons  who   are  or  were   employed   by
        defendants in the United States at any time since
        December 14, 2013, to the entry of judgment in
        this case (the “Collective Action Period”) as
        delivery drivers, who were not paid statutory
        minimum wages “free and clear” and/or who were
        not paid proper overtime premium pay          (the
        “Collective Action Members”).

        18.   The       Collective     Action        Members   are     similarly

  situated    to    plaintiffs        in    that     they   were   employed     by

  defendants as non-exempt delivery drivers, and were denied




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  payment     at    the    statutory       minimum     wage      “free      and    clear”

  and/or proper overtime pay.

        19.    They       are    further         similarly    situated        in       that

  defendants       had    a     policy     and    practice       of    knowingly        and

  willfully refusing to pay them the minimum wage “free and

  clear” and/or proper overtime pay.

        20.    Pursuant to Fed. R. Civ. P. 23(a), (b)(2), and

  (b)(3), plaintiffs seek to prosecute their New Jersey Wage

  & Hour Law claims as a class action on behalf of themselves

  and a class defined as follows:

        All   persons   who are   or  were   employed   by
        defendants in the United States at any time since
        December 14, 2014, to the entry of judgment in
        this case (the “Class Period”) as delivery
        drivers, who were not paid statutory minimum
        wages “free and clear” and/or who were not paid
        proper    overtime  premium   pay   (the    “Class
        Members”).

        21.    Prosecution          of     this     matter       as     a    class        is

  necessary        because      the      persons     in    the        putative         Class

  identified       above      are     so   numerous       that    joinder         of    all

  members is impracticable.

        22.    Although the precise number of such persons is

  unknown, their identities are readily ascertainable from

  records within the sole control of defendants, and upon

  information and belief there are more than 40 members of

  the putative class during the Class Period, most of whom




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  would not likely file individual suits because they lack

  adequate     financial     resources,       access    to     attorneys,    or

  knowledge of their claims.

         23.   Plaintiffs will fairly and adequately protect the

  interests     of   both    the    putative    Class    Members     and    the

  Collective Action Members and have retained counsel that is

  experienced and competent in the fields of employment law

  and class action litigation.

         24.   Plaintiffs’ claims are typical of the claims of

  the    putative    Class    and    Collective       Action    Members,    and

  plaintiffs have no interests that are contrary to, or in

  conflict with, those of the putative members of this class

  action or collective action.

         25.   Furthermore, inasmuch as the damages suffered by

  individual     putative    Class    Members     and    Collective    Action

  Members may be relatively small, the expense and burden of

  individual litigation make it virtually impossible for the

  members of the putative class and collective actions to

  individually seek redress for the wrongs done to them.

         26.   Questions of law and fact common to the members

  of the putative class and collective actions predominate

  over   questions    that    may    affect    only     individual    members

  because      defendants     have     acted     on     grounds     generally

  applicable to all members.


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        27.     Among the common questions of law and fact under

  the   FLSA    and     New   Jersey    wage   and   hour   laws   common   to

  plaintiffs      and     other    putative      Class/Collective     Action

  Members are the following:

           a.    Whether defendants failed and/or refused to pay

                 plaintiffs and the Collective Action Members at

                 a rate at least equal to the statutory minimum

                 wage “free and clear”, in violation of the FLSA

                 and the regulations promulgated thereunder;

           b.    Whether defendants failed and/or refused to pay

                 plaintiffs       and   the    Collective   Action   Members

                 proper premium pay for hours worked in excess of

                 forty per workweek, in violation of the FLSA and

                 the regulations promulgated thereunder;

           c.    Whether defendants failed and/or refused to pay

                 plaintiffs and the putative Class Members at a

                 rate at least equal to the statutory minimum

                 wage, in violation of the New Jersey Wage & Hour

                 Law and the regulations promulgated thereunder;

           d.    Whether defendants failed and/or refused to pay

                 plaintiffs and the putative Class Members proper

                 premium pay for hours worked in excess of forty

                 per workweek, in violation of New Jersey wage




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                  and hour laws and the regulations promulgated

                  thereunder;

            e.    Whether defendants’ violations of the FLSA were

                  willful, or not made in good faith, as those

                  terms are used within the context of the FLSA;

        28.      Plaintiffs    know   of       no   difficulty   that   will   be

  encountered in the management of this litigation that will

  preclude its maintenance as a collective action or class

  action.

        29.      Plaintiffs and the Collective Action Members and

  Class Members perform or performed the same primary duties,

  and were subjected to the same policies and practices by

  defendants.

        30.      The exact number of such individuals, believed to

  be in the hundreds, is presently unknown, but is known by

  defendants       and   can    be    ascertained       through    appropriate

  discovery.

                                      FACTS

        31.      At all relevant times herein,              defendants owned

  and operated a chain of at least a dozen Domino’s Pizza

  stores in New Jersey and New York, including one located at

  527 High Mountain Road, North Haledon, New Jersey, and one

  located at 500 McBride Ave, Woodland Park, New Jersey.




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         32.   All   of   the    stores       in    the    chain    were       operated

   according to common employment policies, set by defendants’

   upper management rather than by the managers of individual

   stores.

         33.   Plaintiffs       were    employed          at   defendants’       pizza

   stores as delivery drivers, though they were often required

   to spend some time each day closing out the store after

   their delivery shifts.          For closing, which was sometimes

   called    “Inside   Work,”     they       were    required       to    clean    up,

   sweep, mop, put food away in the freezers, etc.

         34.   Plaintiffs Cruz and Rodriguez were each employed

   at defendants’ North Haledon store, and plaintiff Trinidad

   was employed at defendants’ Woodland Park store.

         35.   Ms. Cruz has been employed since approximately

   October 2015.

         36.   Mr.     Rodriguez         has         been       employed         since

   approximately October 2014.

         37.   Ms. Trinidad has been employed from approximately

   late 2013.

         38.   Plaintiffs’       work    was       performed       in    the    normal

   course of defendants’ business and was integrated into the

   business    of    defendants,       and    did     not      involve     executive

   responsibilities or the exercise of independent judgment

   about matters of business significance.


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         39.     At    all   relevant     times      herein,     plaintiffs       were

   employees engaged in commerce and/or in the production of

   goods   for        commerce,   as     defined      in   the    FLSA     and    its

   implementing regulations.

         40.     For the first eight months of her employment, Ms.

   Cruz generally worked five days per week, for a total of

   roughly 40 hours per week; however, she occasionally worked

   in excess of 40 hours to cover for absent drivers.                            Since

   then, Ms. Cruz has generally worked three days per week,

   for a total of about 20 hours per week.

         41.     Mr.     Rodriguez       has    generally        worked     8½-hour

   shifts, four days per week, for a total of approximately 34

   hours   per    week;      however,    he    has    occasionally       worked    in

   excess of 40 hours to cover for absent drivers.

         42.     For roughly the first two years of Ms. Trinidad’s

   employment,        she    generally    worked      20-30    hours     per     week.

   However, commencing in late 2015, her schedule changed and

   she routinely began working in excess of 40 hours per week.

   For example, in the biweekly period commencing September

   21, 2015, she worked 90.92 hours.

         43.     Plaintiffs were paid at mixed rates.                     For their

   delivery duties, they were generally paid between $5.00 and

   $7.00 per hour.           For Inside Work, they were sometimes paid




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   at their delivery rate, and sometimes paid between $9.00

   per hour and $10.00 per hour.

         44.   Plaintiffs     also     sometimes,      but     not      always,

   received tips when they made deliveries.

         45.   However,     defendants      never   provided      plaintiffs

   with any notices or information regarding the “tip credit.”

         46.   Upon information and belief, defendants did not

   keep accurate records of the tips received by plaintiffs.

         47.   Because    defendants’       business      model      involved

   making quick deliveries to customers while their food was

   still    hot,   plaintiffs   were     required    to      complete    their

   assigned deliveries by motor vehicle.

         48.   As a condition of plaintiffs’ employment, they

   were required to supply and use their own cars as “tools of

   the trade” to complete their assigned deliveries.

         49.   During the course of these deliveries, plaintiffs

   incurred expenses for, inter alia, gasoline, maintenance,

   and wear-and-tear of their vehicles.

         50.   Defendants did not reimburse plaintiffs for the

   actual    expenses    plaintiffs    incurred     in    supplying       their

   tools of the trade.

         51.   For that reason, defendants did not ask or tell

   drivers to keep records of these expenses.




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         52.   Instead,      defendants       had   a   policy    of    paying   a

   token flat per-delivery amount to their drivers. Generally

   speaking, although defendants charged customers a “delivery

   fee” that ranged between $3.00 and $4.00 per delivery, only

   $1.00 of this amount was typically paid to the driver as

   expense reimbursement.

         53.   In   order    to    disguise     the     fact   that    defendants

   were not fully reimbursing plaintiffs for their expenses,

   these partial reimbursements were paid to plaintiffs each

   day in cash, with no paper record made.

         54.   This reimbursement amount was an amount that was

   not nearly sufficient to compensate plaintiffs for their

   actual expenses incurred.

         55.   Although during the relevant time period the IRS

   calculated a reasonable business expense of between $0.54

   and   $0.575     per     mile   for    operating       a    motor    vehicle,

   defendants’ policies resulted in a reimbursement rate of

   closer to $0.15 per mile or less.

         56.   Because plaintiffs incurred unreimbursed expenses

   for their “tools of the trade,” and because plaintiffs were

   being paid below the statutory minimum wage when making

   deliveries, their actual compensation, “free and clear,”

   was less than the applicable minimum wage.




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          57.    In     addition,       defendants’         failure     to    properly

   reimburse          plaintiffs       for   their       expenses       resulted    in

   plaintiffs being paid an improper overtime rate that was

   less than one-and-one-half times the appropriate regular

   rates of pay.

          58.    Throughout the period of plaintiffs’ employment,

   both   before       that     time    (throughout        the   Collective     Action

   Period       and    Class     Period)     and     continuing       until     today,

   defendants have likewise employed other individuals like

   plaintiffs          (the    Collective         Action     Members      and    Class

   Members) in non-exempt positions as delivery drivers.

          59.    Defendants applied the same employment policies,

   practices, and procedures to all Collective Action Members

   and    Class       Members,        including     policies,      practices,      and

   procedures with respect to the payment of minimum wages and

   overtime      and    the     reimbursement       of     business     expenses   for

   “tools of the trade.”

          60.    These        other    individuals       were    also    compensated

   below the statutory federal and state minimum wages.

          61.    Defendants also failed to fully reimburse these

   other individuals for expenses related to their “tools of

   the trade.”

          62.    As a result, these other individuals also were

   not paid the applicable minimum wage “free and clear.”


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         63.   In   addition,     these       other    individuals   were    not

   properly paid time-and-one-half the regular rates of pay

   for all overtime hours worked.

                                       COUNT I

               (Fair Labor Standards Act – Minimum Wage)

         64.   Plaintiffs,       on    behalf     of    themselves   and     all

   Collective       Action       members,        repeat,     reallege,       and

   incorporate by reference the foregoing allegations as if

   set forth fully and again herein.

         65.   At    all      relevant     times,       defendants   employed

   plaintiffs    and    the   Collective       Action    members   within    the

   meaning of the FLSA.

         66.   Defendants failed to pay a salary greater than

   the minimum wage “free and clear” to plaintiffs and the

   Collective Action members for all hours worked.

         67.   As   a   result    of    defendants’      willful   failure    to

   compensate plaintiffs and the Collective Action members at

   a rate at least equal to the federal minimum wage for each

   hour worked, defendants have violated the FLSA, 29 U.S.C.

   §§ 201 et seq., including 29 U.S.C. § 206.

         68.   The foregoing conduct, as alleged, constitutes a

   willful violation of the FLSA within the meaning of 29

   U.S.C. § 255(a), and lacked a good faith basis within the

   meaning of 29 U.S.C. § 260.


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         69.   Due    to   defendants’       FLSA   violations,     plaintiffs

   and the Collective Action members are entitled to recover

   from defendants their unpaid compensation plus liquidated

   damages, interest, reasonable attorneys’ fees, and costs

   and disbursements of this action, pursuant to 29 U.S.C. §

   216(b).

                                     COUNT II

             (New Jersey Wage and Hour Law – Minimum Wage)

         70.   Plaintiffs, on behalf of themselves and the Class

   Members, repeat, reallege, and incorporate by reference the

   foregoing    allegations     as    if     set    forth   fully   and   again

   herein.

         71.   At all relevant times, plaintiffs and the Class

   Members were employed by defendants within the meaning of

   the New Jersey Wage and Hour Law.

         72.   At relevant times, defendants had a policy and

   practice    of    paying   plaintiffs      and    the    Class   Members   at

   hourly rates that were less than the statutory minimum wage

   pursuant to the New Jersey Wage and Hour Law.

         73.   Defendants      willfully       violated      the    rights    of

   plaintiffs and the Class Members by failing to pay them

   wages in excess of the minimum wage in violation of the New

   Jersey Wage and Hour Law § 34:11-56a1 et seq. and N.J.A.C.

   §12:56-3.1 et seq.


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         74.   Defendants’       failure       to    pay    plaintiffs       and   the

   Class   Members      wages    in    excess       of    the    minimum    wage   was

   willful.

         75.   Due to defendants’ New Jersey Wage and Hour Law

   violations, plaintiffs and the Class Members are entitled

   to   recover     from   defendants      their         unpaid    minimum     wages,

   interest,      reasonable      attorneys’             fees,    and      costs   and

   disbursements of the action, pursuant to New Jersey Wage

   and Hour Law.

                                       COUNT III

                  (Fair Labor Standards Act – Overtime)

         76.   Plaintiffs,        on    behalf       of     themselves       and   all

   Collective       Action       members,           repeat,        reallege,       and

   incorporate by reference the foregoing allegations as if

   set forth fully and again herein.

         77.   At    all      relevant      times,         defendants        employed

   plaintiffs     and   the     Collective      Action       members    within     the

   meaning of the FLSA.

         78.   At all relevant times, defendants had a policy

   and practice of refusing to pay proper premium compensation

   to plaintiffs and the Collective Action members for hours

   worked in excess of forty hours per workweek.

         79.   As   a   result    of     defendants’         willful    failure     to

   compensate plaintiffs and the Collective Action members at


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   a   rate     at    least   one-and-one-half            times   their   respective

   regular rates of pay for work performed in excess of forty

   hours per workweek, defendants have violated, and continue

   to violate, the FLSA, 29 U.S.C. §§ 201 et seq., including

   29 U.S.C. §§ 207(a)(1) and 215(a).

          80.    The foregoing conduct, as alleged, constitutes a

   willful violation of the FLSA within the meaning of 29

   U.S.C. § 255(a).

          81.    Due    to    defendants’          FLSA   violations,     plaintiffs

   and the Collective Action members are entitled to recover

   from   defendants          their    unpaid       overtime      compensation,    an

   additional equal amount as liquidated damages, interest,

   reasonable attorneys’ fees, and costs and disbursements of

   this action, pursuant to 29 U.S.C. § 216(b).

                                           COUNT IV

                 (New Jersey Wage and Hour Law – Overtime)

          82.    Plaintiffs, on behalf of themselves and the Class

   Members, repeat, reallege, and incorporate by reference the

   foregoing         allegations      as    if     set    forth   fully   and   again

   herein.

          83.    At all relevant times, plaintiffs and the Class

   Members were employed by defendants within the meaning of

   the New Jersey Wage and Hour Law.




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         84.      Defendants       willfully        violated      the     rights     of

   plaintiffs and the Class Members by failing to pay them

   overtime compensation at rates at least one-and-one-half

   times    the    regular     rate    of   pay     for   each    hour    worked      in

   excess of forty hours per workweek in violation of New

   Jersey    Wage    and    Hour     Law    §    34:11-56a1    et   seq.      and    New

   Jersey Administrative Code N.J.A.C. §12:56- 6.1.

         85.      Defendants’ failure to pay overtime was willful

   and intentional in violation of N.J.S.A. § 34:11-56a1 et

   seq. and N.J.A.C. §12:56-6.1.

         86.      Due to defendants’ New Jersey Wage and Hour Law

   violations, plaintiffs and the Class Members are entitled

   to    recover      from         defendants        their       unpaid       overtime

   compensation,      interest,        reasonable         attorneys’      fees,      and

   costs and disbursements of the action.

                                   PRAYER FOR RELIEF

         WHEREFORE, plaintiffs, on behalf of themselves and the

   Collective Action members and Class Members, respectfully

   request that this Court grant the following relief:

            a.     Certification of this action as a class action

                   pursuant     to    Fed.R.Civ.P.        23(b)(2)      and    (3)    on

                   behalf     of     the    Class    Members      and     appointing




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                 plaintiffs and their counsel to represent the

                 Class;

            b.   Designation      of   this      action    as    a    collective

                 action     on    behalf    of    the     Collective        Action

                 members and prompt issuance of notice pursuant

                 to 29 U.S.C. § 216(b) to all similarly situated

                 members of an FLSA Opt-In Class, apprising them

                 of the pendency of this action, permitting them

                 to assert timely FLSA claims in this action by

                 filing individual Consents to Sue pursuant to 29

                 U.S.C. § 216(b), and appointing plaintiffs and

                 their counsel to represent the Collective Action

                 members;

            c.   A    declaratory      judgment        that     the    practices

                 complained of herein are unlawful under the FLSA

                 and the New Jersey Wage and Hour Law;

            d.   An   injunction       against     defendants         and    their

                 officers,        agents,        successors,          employees,

                 representatives, and any and all persons acting

                 in concert with them, as provided by law, from

                 engaging    in    each     of   the    unlawful      practices,

                 policies, and patterns set forth herein;




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            e.   Compensatory      damages    for   failure   to    pay     the

                 minimum wage pursuant to the FLSA and the New

                 Jersey Wage and Hour Law;

            f.   Compensatory      damages    for   failure   to    pay     the

                 proper overtime premium pay pursuant to the FLSA

                 and the New Jersey Wage and Hour Law;

            g.   An award of liquidated damages as a result of

                 defendants’ willful failure to pay the minimum

                 wage and overtime compensation pursuant to 29

                 U.S.C. § 216;

            h.   Back pay;

            i.   Punitive damages;

            j.   An     award     of   prejudgment     and    postjudgment

                 interest;

            k.   An award of costs and expenses of this action

                 together with reasonable attorneys’ and expert

                 fees; and

            l.   Such    other,    further,   and   different      relief    as

                 this Court deems just and proper.

   Dated:   December 14, 2016




                                   David Stein (DS 2119)


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                                David Nieporent (DN 9400)
                                SAMUEL & STEIN
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                                New York, New York 10001
                                (212) 563-9884

                                Attorneys for Plaintiffs
                                and the putative FLSA collective
                                action and class




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                       EXHIBIT A




                                     23
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                                      CONSENT TO SUE

    By my signature below, I hereby authorize the filing and prosecution of claims in my
    name and on my behalf to contest the failure of JMC Holdings, Ltd. and its owners and
    affiliates to pay me, inter alia, minimum wage and overtime wages as required under
    state and/or federal law and also authorize the filing of this consent in the lawsuit
    challenging such conduct, and consent to being named as a representative plaintiff in this
    action to make decisions on behalf of all other plaintiffs concerning all aspects of this
    lawsuit. I have been provided with a copy of a retainer agreement with the law firm of
    Samuel & Stein, and I agree to be bound by its terms.                                .

    Con mi firma abajo, autorizo la presentaci6n y tramitaci6n de reclamaciones en mi
    nombre y de mi parte para impugnar el fallo de JMC Holdings, Ltd. y sus propietarios y
    afiliados a me pagan, entre otras cosas, el salario minimo y pago de horas extras,
    requerida en el estado y / 0 la ley federal y tambien autorizan la presentaci6n de este
    consentimiento en la demanda contra ese tipo de conducta, y el consentimiento para ser
    nombrado como demandante representante en esta acci6n para tomar decisiones en
    nombre de todos los demas demandantes en relaci6n con todos aspectos de esta demanda.
    Se me ha proporcionado una copia de un acuerdo de retenci6n con la firma de abogados
    de Samuel y Stein, y estoy de acuerdo en estar obligado por sus terminos ..




    Date: September 13,2016
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                                      CONSENT TO SUE

    By my signature below, I hereby authorize the filing and prosecution of claims in my
    name and on my behalf to contest the failure of JMC Holdings, Ltd. and its owners and
    affiliates to pay me, inter alia, minimum wage and overtime wages as required under
    state and/or federal law and also authorize the filing of this consent in the lawsuit
    challenging such conduct, and consent to being named as a representative plaintiff in this
    action to make decisions on behalf of all other plaintiffs concerning all aspects of this
    lawsuit. I have been provided with a copy of a retainer agreement with the law firm of
    Samuel & Stein, and I agree to be bound by its terms.

    Con mi firma abajo, autorizo la presentaci6n y tramitaci6n de reclamaciones en mi
    nombre y de mi parte para impugnar el fallo de JMC Holdings, Ltd. y sus propietarios y
    afiliados a me pagan, entre otras cosas, el salario minimo y pago de horas extras,
    requerida en el estado y / 0 la ley federal y tambien autorizan la presentaci6n de este
    consentimiento en la demanda contra ese tipo de conducta, y el consentimiento para ser
    nombrado como demandante representante en esta acci6n para tomar decisiones en
    nombre de todos los demas demandantes en relaci6n con todos aspectos de esta demanda.
    Se me ha proporcionado una copia de un acuerdo de retenci6n con la firma de abogados
    de Samuel y Stein, y estoy de acuerdo en estar obligado por sus terminos ..




           Luis Rodi1gUez


    Date: September 13,2016
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                                     CONSENT TO SUE

   By my signature below, I hereby authorize the filing and prosecution of claims in my
   name and on my behalf to contest the failure of JMC Holdings, Ltd. and its owners and
   affiliates to pay me, inter alia, minimum wage and overtime wages as required under
   state and/or federal law and also authorize the filing of this consent in the lawsuit
   challenging such conduct, and consent to being named as a representative plaintiff in this
   action to make decisions on behalf of all other plaintiffs concerning all aspects of this
   lawsuit. I have been provided with a copy of a retainer agreement with the law firm of
   Samuel & Stein, and I agree to be bound by its terms.

   Con mi firma abajo, autorizo la presentacion y tramitaci6n de reclamaciones en mi
   nombre y de mi parte para impugnar el fallo de JMC Holdings, Ltd. y sus propietarios y
   afiliados a me pagan, entre otras cosas, el salario minimo y pago de horas extras,
   requerida en el estado y / 0 la ley federal y tambien autorizan la presentaci6n de este
   consentimiento en la demanda contra ese tipo de conducta, y el consentimiento para ser
   nombrado como demand ante representante en esta acci6n para tomar decisiones en
   nombre de todos los demas demandantes en relaci6n con todos aspectos de esta demanda.
   Se me ha proporcionado una copia de un acuerdo de retenci6n con la fmna de abogados
   de Samuel y Stein, estoy de acuerdo en estar obligado por sus terminos ..




          Mercedes Trinidad


   Date: November 1,2016
